          Case
 AO 106 (Rev. 04/10)2:19-mj-04818-DUTY
                     Application for a Search Wazrant    Document 1 Filed 11/13/19 Page 1 of 28 Page ID #:1


                                       UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Central District of California

                   In the Matter ofthe Search of                         )
          (Briefly describe the property to be searched or ident~ the
                         person by name and address)                              Case No. ~ y ,/Iqj~(~(~
    413 E. Sr'' Street, Apartment 2, Long Beach,
                                                                                                      ___....,.._.._
                                                                         )                                          F~~.~e
                                                                                                                        ~~s-~;3~~
                                                                                                                                 ~-~
    California("SUBJECT PREMISES")                                       )                                     q.E       U.S. ~-      GQt7F:7


                                                                                                                       ~i~►1~ I :~~ 2019

                                              APPLICATION FOR A SEARCH WARRANT                              ~.-wrwu.as~,c~r of cAu~o~%
       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury thatIhave reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

        See Attachment A-3
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B-2

          The basis for the search under Fed. R. Crim. P. 41(c) is (heck one o,-more):
                ~ evidence of a crime;
                ~ contraband, fruits of crime, or other items illegally possessed;
                ~ property designed for use, intended for use, or used in committing a crime;
                ❑ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                           Offense Description
        21 U.S.C. §§ 841(a)(1), 843(b), 846;                            Possession with the intent to distribute and distribution of
        18 U.S.C. §.1956                                                controlled substances, and conspiracy to do the same;
                                                                        Unlawful use of a communications facility; Money
                                                                        laundering and conspiracy to launder monetary instruments



          The application is based on these facts:
                See attached Affidavit
                ~ Continued on the attached sheet.
      ❑ Delayed notice of           days (give exact ending date ifmore than 30 days:                                      )is requested
      under 18 U.S.C. § 3103a,the basis of which is set forth on the attached sheet.

                                                                                             (s ~
                                                                                                Applicant's signature

                                                                          --          sA          1.~4 ~~:I d~
Sworn to before me and signed in my presence.                                                   Printed name and title


Date:        ~ l~ 13~ l~(                                                                       ALKA SA~A~
                                                                                                  Judge 's signature

City and state: Los Angeles, CA                                                         Honorable Alka Saar
                                                                                                Printed name and title
AUSA: Bryant Yang x0166
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 2 of 28 Page ID #:2




                             ATTACFIMENT A-3

PREMISES TO BE SEARCHED

The premises located at 413 E. 5th Street, Apartment 2, Long

Beach, California (~~SUBJECT PREMISES"), is an apartment in a

two-story, multi-family building, with metal and brick fencing.

It is a residential address.      The number 413 is visible above

the main entrance.    The search shall include any and all

attachments, attics, basements, garages, safes, carports,

parking spots, outbuildings, storage units, appurtenances

thereto, and all other areas associated with or assigned to the

SUBJECT PREMISES.    The search shall also include all vehicles

and digital devices found on or at areas associated with the

SUBJECT PREMISES.




                                       i
 Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 3 of 28 Page ID #:3




                             ATTACfIMENT B-2

I.   ITEMS TO BE SEIZED

      1.    The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

~~ 841(a)(1), 846 (possession with intent to distribute

controlled substances, distribution of controlled substances,

and conspiracy to do the same); 21 U.S.C. ~ 843(b) (unlawful use

of a communications facility to facilitate drug trafficking

offenses); and 18 U.S.C. § 1956 (money laundering and conspiracy

to launder monetary instruments) (the "Subject Offenses"),

namely:

           a.    Any controlled substance, controlled substance

analogue, or listed chemical;

           b.    Items and paraphernalia for the manufacturing,

distributing, packaging, sale, or weighing of controlled

substances, including scales and other weighing devices, plastic

baggier, food saver sealing devices, heat sealing devices,

balloons, packaging materials, containers, and money counters;

           c.    Items used in the packaging of currency for

consolidation and transportation, such as money-counting

machines, money wrappers, carbon paper, rubber bands, duct tape

or wrapping tape, plastic wrap or shrink wrap, and plastic

sealing machines;

           d.    United States currency over $1,000 or bearer

instruments worth over $1,000 (including cashier's checks,

traveler's checks, certificates of deposit, stock certificates,

and bonds) (including the first $1,000), and data, records,



                                       i
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 4 of 28 Page ID #:4




documents, or information (including electronic mail, messages

over applications and social media, and photographs) pertaining

to, obtaining, possessing, using, applications for, or

transferring money over $1,000, such as bank account records,

cryptocurrency records and accounts;

           e.   Documents and records reflecting the identity of,

contact information for, communications with, or times, dates or

locations of meetings with co-conspirators, sources of supply of

controlled substances, or drug customers, including calendars,

address books, telephone or other contact lists, pay/owe

records, distribution or customer lists, correspondence,

receipts, records, and documents noting price, quantities,

and/or times when drugs were bought, sold, or otherwise

distributed, whether contained in hard copy correspondence,

notes, emails, text messages, photographs, videos (including

items stored on digital devices), or otherwise;

          f.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          g.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;



                                      ii
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 5 of 28 Page ID #:5



           h.   Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

which relate to the above-named violations;

          i.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of drugs;

          j.    Contents of any calendar or date book;

          k.    Global Positioning System ("GPS") coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          1.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          m.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;




                                     iii
 Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 6 of 28 Page ID #:6




                 ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.      evidence of the times the device was used;

                 vi.     passwords, encryption keys, and other access

devices that may be necessary to access the device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.        records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device's

Internet activity, including firewall logs, caches, browser

history and cookies, "bookmarked" or "favorite" web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.    As used herein, the terms "records," "documents,"

"programs," "applications," and "materials" include records,

documents, programs, applications, and materials created,




                                       iv
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 7 of 28 Page ID #:7




modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

      3.   As used herein, the term "digital device" includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICE(S)

      4.   In searching digital devices (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the "search team") will, in

their discretion, either search the digital device (s) on-site or

seize and transport the devices) and/or forensic image s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall



                                       v
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 8 of 28 Page ID #:8




complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device (s) and/or forensic

image s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, ~~hidden," or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as "Encase" and "FTK" (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

          c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device



                                      vi
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 9 of 28 Page ID #:9




pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

was encountered, including how it was immediately apparent

contraband or evidence of a crime.

           d.   If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           e.   If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

          f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital 'device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

          g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.




                                      vii
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 10 of 28 Page ID #:10




             h.   After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

        5.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

             a.   Any digital device capable of being used to

commit, further, or store evidence of the offense s) listed

above;

             b.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

             c.   Any magnetic, electronic, or optical storage

device capable of storing digital data;

             d.   Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

             e.   Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

             f.   Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

             g.   Any passwords, password files, test keys,

encryption codes, or other information necessary to access the

digital device or data stored on the digital device.



                                      viii
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 11 of 28 Page ID #:11




      6.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




                                       ix
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 12 of 28 Page ID #:12




                                AFFIDAVIT

      I, Angelica Childs, being duly sworn, declare and state as

follows:

                        I.   PURPOSE OF AFFIDAVIT

      1.   This affidavit is made in support of an application

for a warrant to search the following digital devices

(collectively, the ~~SUBJECT DEVICES") seized on November 13,

2019, from JOEL RAMON HERRER.A MARTINEZ, in the custody of the

Drug Enforcement Administration, in Los Angeles County,

California, as described more fully in Attachment A-l:

           a.    A black Alcatel flip-cellphone; and

           b.    A black Samsung cellphone.

     2.    This affidavit is also made in support of an

application for a warrant to search a 2012 silver/gray Toyota

Corolla, bearing license plate number 7DYB729 (the "SUBJECT

VEHICLE") as described more fully in Attachment A-2.

     3.    This affidavit is also made in support of an

application for a warrant to search the residential premises

located at 413 E. 5th Street, Apartment 2, Long Beach, California

(~~SUBJECT PREMISES"), as described more fully in Attachment A-3.

     4.    The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of 21

U.S.C. ~~ 841(a)(1), 846 (possession with intent to distribute

controlled substances, distribution of controlled substances,

and conspiracy to do the same); 21 U.S.C. ~ 843(b) (unlawful use

of a communications facility to facilitate drug trafficking

offenses); and 18 U.S.C. ~ 1956 (money laundering and conspiracy
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 13 of 28 Page ID #:13




to launder monetary instruments) (the "Subject Offenses"), as

described more fully in Attachments B-1 and B-2.          Attachments A-

1, A-2, A-3, B-1, and B-2 are incorporated herein by reference.

        5.   The facts set forth in this affidavit are based upon

m y personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.     This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint, arrest

warrant, and search warrants, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II.BACRGROUND OF AFFIANT

        6.   I am an investigator and law enforcement officer of

the United States within the meaning of Title 18, United States

Code, Section 2510(7).      I am empowered by law to conduct

investigations of, and make arrests for, the federal felony

offenses enumerated in Title 18, United States Code, Section

2516.

        7.   I have been employed as a Special Agent ("SA") of the

Drug Enforcement Administration ("DEA") since August of 2019,

and currently am assigned to the DEA Los Angeles Field Division

("LAFD") Group 1.     I received and completed formal training that

included a 16-week DEA training program in Quantico, Virginia.

I have specialized training and experience in the investigation

of major narcotics trafficking organizations involved in violent
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 14 of 28 Page ID #:14




crimes, racketeering, conspiracy crimes, and narcotics

importation and distribution.       I have participated in the

debriefing of defendants and informants who had personal

knowledge regarding major narcotics trafficking organizations.

Additionally, I have participated in many aspects of drug

investigations, such as extensive hours of conducting

surveillance.    I am familiar with narcotics traffickers' methods

of operation, including the manufacture, storage,

transportation, and distribution of narcotics, the collection of

money that represents the proceeds of narcotics trafficking, and

money laundering.

      8.   I am also familiar with the sophisticated methods that

drug organizations use to avoid detection by law enforcement,

such as the use of multiple cellphones, pre-paid calling cards,

counter-surveillance measures, established relationships with

legitimate businesses to hide drugs and launder drug proceeds,

vehicles with concealed compartments, false or fictitious

identities, and coded and/or vague communications and

conversations over cellphones, including text messages.

                    III. SUNIl~ARY OF PROBABLE CAUSE

      9.   ON NOVEMBER 13, 2019, JOEL RAMON HERRERA MARTINEZ

(~~HERRERA") supplied two Confidential Informants (~~CS-1" 1 and



     1 For about a year or two, CS-1 has been cooperating with LA
Impact. CS-1 has previously provided information that has been
corroborated and proven to be reliable. CS-1 has worked on
multiple cases and his cooperation has led to numerous seizure.
Based on CS-1's criminal check, he does not have a criminal
history. He may have been arrested for a narcotic-related
offense, but he was never formally booked, charged, or



                                        3
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 15 of 28 Page ID #:15




"CS-2"z) with one pound of suspected methamphetamine and about

100 suspected fentanyl pills in exchange for $1,900.           HERRERA

traveled to and from the meeting location in the SUBJECT VEHICLE

(a 2012 silver/gray Toyota Corolla, bearing license plate number

7DYB729).

      10.   Later, HERRERA called CS-1 to update the CSs about the

amount of drugs he had at his residence (SUBJECT PREMISES).

HERRERA said that he had at the SUBJECT PREMISES 29 pounds of

methamphetamine, 5,000 pills, 1 kilogram of China-white heroin,

and 2 kilograms of black heroin.       HERRERA offered to sell the

drugs to the CSs.

      11.   HERRERA then called CS-1 to inform CS-1 that he was on

his way with the drugs.      An air surveillance team saw HERRERA

place three boxes into the SUBJECT VEHICLE.         At around 4:36

p.m., members from LA Impact conducted a traffic stop of the

SUBJECT VEHICLE.

                    IV. STATEMENT OF PROBABLE CAUSE

     12.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:



convicted. In a trial in Maricopa       County, Arizona, CS-1
answered, "No," when asked whether      s/he lived at an address and
whether his/her children went to a      specific school out of fear
for the safety of his/her family.       CS-1 is cooperating for
monetary consideration.
     z CS-2 has previously provided information to the DEA that
has been corroborated and proven to be reliable. CS-2 has two
prior arrests: a 2008 arrest for assault with a deadly weapon
and a 2016 arrest for possession of a controlled substance for
sale. CS-2 is cooperating for charging and sentencing
consideration related to the seizure of 3 kilograms of cocaine
and 1 pound of methamphetamine.


                                       0
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 16 of 28 Page ID #:16




      A.    Investigative Overlap Between Los Angeles DEP, Group 1
            and Los Angeles IMPACT Investigations Involving
            HERRERA

            a.   On or about September 25, 2019, the Honorable S.

James Otero, United States District Court Judge for the Central

District of California, authorized the interception of wire

communications over telephone number (424) 223-8247, used by

Brian MIRANDA (~~MIRANDA")      On or about October 24, 2019, at

approximately 8:52 p.m., MIRANDA, using (424) 223-8247, called

(562) 826-1680 ("HERRERA'S CELLPHONE").        The following is a

summary of the telephone call which was translated to English

from Spanish by linguists:3

      MIRANDA: Hello. Hey, I'm calling on behalf of Cunado
      (brother in law).

      HERRERA:   Yeah, what's up, buddy?

      MIRANDA: How are you? Yeah, I want to give you the
      address. I don't know if he mentioned how many there were
      going to be.

      HERRERA: Yes, he sent me an address.         Is it the same one
      he sent me?

      MIRANDA: Yes, yes, yes. I'll be heading that way now.
      Let me know when you get there, okay? I'll be heading that
      way.

      HERRERA:   Okay, I'll let you know.      I'm in Long Beach.

     MIRANDA: Yeah, not a problem. Just let me know how long
     it's going to take you to get there.

      HERRERA:   Okay, I'll call you as soon as I leave this area.

     MIRANDA:    Okay, send me a message.


     3 The draft transcriptions and translations of these calls
included herein in this application are preliminary and subject
to change upon final review.


                                        5
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 17 of 28 Page ID #:17




      HERRERA:   I'm getting ready, okay?       Bye.

            b.    Based on my training, experience, and knowledge

of this investigation, I believe that drug traffickers use coded

terms and language in order to mask their illegal activities and

thwart law enforcement.      In this instance, I believe that

MIRANDA called HERRERA and told HERRERA that he was not law

enforcement and was being referred by another individual ("Hey,

I'm calling on behalf of `Cunado' (brother-in-law)").           Later,

based on my training, experience, and knowledge of this

investigation, I believe that MIRANDA and HERRERA confirmed the

specific quantity of controlled substances agreed upon by

another individual ("Cunado"), with whom MIRANDA had spoken to

prior to this communication ("I don't know if he mentioned how

many there were going to be." "Yes, he sent me an address.").4            I

know drug distributors often work in concert with each other

supplying and selling controlled substances and, in this

instance, I believe that HERRERA was sourcing MIR.ANDA with a

particular controlled substance assisted by another unknown

individual in the criminal organization.

           c.    On or about November 7, 2019, based on an

investigative overlap, SA Gamez spoke with LA IMPACT Detective

Christopher Regan, who told me that CS-1 was in contact with

HERRERA, who was using HERRERA'S CELLPHONE.         Per Detective



     4 Investigators did not intercept communication from MIRANDA
to another individual before or prior to this communication.
Based on my training, experience, and knowledge of this
investigation I believe MIRANDA uses text messaging, WhatsApp
and SnapChat to also conduct drug trafficking activities.


                                        D
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 18 of 28 Page ID #:18




Regan, HERRERA is a drug source of supply who could supply

multi-pound amounts of methamphetamine and thousands of

fentanyl-laced pills.

      B.   HERRERA Agreed to Sell CS-1 79 Pounds of
           Methamphetamine and 25,000 Fentanyl Pills

           d.    On or about November 7, 2019, CS-1 spoke with

HERRERA and asked to purchase methamphetamine and pills.           The

following is a summary of the telephone call, which was

translated to English from Spanish:         Initially, CS-1 said that

s/he was looking for "windows" and "buttons," but s/he was

unable to find them so s/he bought something else.          CS-1 told

HERRERA that s/he would return to the area the following

Tuesday.   S/he suggested that they both meet the following day

and s/he ~~could buy the windows and buttons, like they had

previously agreed."     HERRERA replied, "Any way you, any way you

want, buddy.    I'm willing, no problem, you know that."         CS-1

then reminded HERRERA that he dealt with large quantities.

HERRERA replied, ~~I work with big numbers too, don't worry.            You

just tell me, and...very quickly."     CS-1 then told HERRERA, "For

next Wednesday, I'm going to need 79 windows and 25 whole

buttons, 25,000 buttons.      If you think you can for next

Wednesday, let me know.      If not, then I can look elsewhere."

HERRERA replied that he would make calls so he `could have, for

[CS-1], his order, exactly what [CS-1] wanted] for that day.

What do you think?"

           e.    Based on my training, experience, and knowledge

of this investigation, I believe that CS-1 ordered 79 pounds of




                                        7
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 19 of 28 Page ID #:19




methamphetamine and 25,000 fentanyl pills (`For next Wednesday,

I'm going to need 79 windows and 25 whole buttons, 25,000

buttons.")        I also believe that HERRERA said that he could

supply CS-1 with the requested drugs ("exactly what [CS-1]

wanted] for that day").

      C.     Identification of Joel Ramon HERRERA MARTINEZ

             f.    On or about November 8, 2019, the Honorable

Rozella Oliver, United States Magistrate Court Judge for the

Central District of California, issued warrant 19-MJ-04756,

which allowed the disclosure of cell site information and GPS

data for HERRERA'S CELLPHONE and the use of a cell-site

simulator.      On November 12, 2019, Fontana Police Department

Detective Kyle Guthrie used a cell-site simulator to locate

HERRERA'S CELLPHONE in the vicinity of an apartment complex

located at 413 E. 5th Street, Long Beach, California.

           g.      Around the same date, CS-1 provided a Whatsapp

photograph of the user of HERRERA'S CELLPHONE to Los Angeles

IMPACT Detective Christopher Regan.         Detective Regan had LA

IMPACT Detective Nick Butler run the image through a facial

recognition software, which identified the individual as Joel

Ramon HERRERA MARTINEZ.      A search of a law enforcement database

showed that Joel HERRERA has previously used 413 E. 5t'' Avenue,

Apartment 2, Long Beach, California (SUBJECT PREMISES), as a

home address.




                                        E
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 20 of 28 Page ID #:20




      D.   On November 13, 2019, HERRERA Sold CS-1 and CS-2 One
           Pound of Methamphetamine and 100 Fentanyl Pills

           h.    On or about November 13, 2019, at approximately

11:25 a.m., SAs Gamez and Andrew Davis met with CS-1 and CS-2

regarding the potential drug deal.        At approximately 12:00 p.m.,

CS-1 received a telephone call from HERRERA, who was using (562)

616-3612 (~~HERRERA's SECOND CELLPHONE")        HERRERA said that he

was ready to sell him/her the drugs.

           i.    At around 1:47 p.m., HERRERA arrived at the

Target Store in Signal Hill, California, driving the SUBJECT

VEHICLE (a 2012 silver/gray Toyota Corolla, bearing license

plate number 7DYB729).      Detective Byrd then saw HERRERA get out

of the SUBJECT VEHICLE and get into the front passenger's seat

of the CS-1's vehicle.     Based on a contemporaneous recording,

which was translated by SA Jesus Gamez, HERRERA received a

telephone call, while in CS-1's vehicle.        The caller told

HERRERA that China-white heroin is going for $24,000 a kilogram.

           j.    Thereafter, HERRERA got into the SUBJECT VEHICLE

and drove to the SUBJECT PREMISES (his residence at 413 East 5th

Street, Long Beach, California).       CS-1 and CS-2 left the Target

Store in Signal Hill and traveled to a neutral location, where

they and their car was searched by DEA agents.         The agents found

about one pound of suspected methamphetamine wrapped in a clear

plastic bag and about 100 suspected fentanyl pills in a separate

plastic bag.    Both bags of drugs were in a potatoes chip bag in

the rear passenger's seat.
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 21 of 28 Page ID #:21




             k.   SA Gamez debriefed the CSs.      CS-1 said that

HERRERA was carrying a shoulder bag when HERRERA got into the

car.     According to CS-1, HERRERA took out the potatoes chip bag

and told the CSs to look inside.       CS-1 looked inside and saw the

drugs.     The CSs provided HERRERA with $1,900.       HERRERA said that

he did not have the full order at the time, but that he could

make some calls and get the order together.         HERRERA said that

he would need two to three hours to get the amount of drugs

ready.     HERRERA then started to make telephone calls to various

sources.     HERRERA told the CSs that he had at his residence 2

kilograms of black heroin, 1 kilogram of China white heroin,

more than 30 pounds of methamphetamine, and 4,000 pills.

HERRERA said that he would send the CSs pictures of the drugs he

had at home.

            1.    At around 3:00 p.m., HERRERA called CS-1 again,

but using a different telephone number.         HERRERA called to

update the CSs about the amount of drugs he had.          HERRERA said

that he had at his residence 29 pounds of methamphetamine, 5,000

pills, 1 kilogram of China-white heroin, and 2 kilograms of

black heroin.     HERRERA said that he would not be able to get

more drugs as he previously agreed.         HERRERA asked if the CSs

still wanted to purchase the drugs he did have available.           CS-1

said he remained interested in buying the drugs.          HERRERA

replied that he will bring the drugs after he drops of his wife

at work.

            m.    HERRERA then called CS-1 to inform CS-1 that he

was on his way with the drugs.       An air surveillance team saw



                                       10
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 22 of 28 Page ID #:22




HERRERA place three boxes into the SUBJECT VEHICLE.           At around

4:36 p.m., members from LA Impact conducted a traffic stop of

the SUBJECT VEHICLE and searched the vehicle.          Law enforcement

seized the DIGITAL DEVICES from HERRERA during the traffic stop.

            V.   TRAINING AND EXPERIENCE ON DRUG OFFENSES

      13.   Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

            a.   Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

            b.   Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences.

            c.   Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This



                                       11
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 23 of 28 Page ID #:23




includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.            In

addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

           d.    Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices and in their residence.         Drug traffickers

often keep records of meetings with associates, customers, and

suppliers on their digital devices and in their residence,

including in the form of calendar entries and location data.

           e.    Drug traffickers often use vehicles to transport

their narcotics and may keep stashes of narcotics in their

vehicles in the event of an unexpected opportunity to sell

narcotics arises.

           f.    Drug traffickers often maintain on hand large

amounts of United States currency in order to maintain and

finance their ongoing drug trafficking businesses, which operate

on a cash basis.     Such currency is often stored in their

residences and vehicles.

           g.    Drug traffickers often keep drugs in places where

they have ready access and control, such as at their residence

or in safes.    They also often keep other items related to their

drug trafficking activities at their residence, such as digital



                                       12
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 24 of 28 Page ID #:24



scales, packaging materials, and proceeds of drug trafficking.

These items are often small enough to be easily hidden and thus

may be kept at a drug trafficker's residence even if the drug

trafficker lives with others who may be unaware of his criminal

activity.

             h.     It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.       These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as "drop phones," for

actual voice communications.

            VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES5

      14.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.     Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,


     5 As used herein, the term "digital device" includes the
SUBJECT DEVICES and any electronic system or device capable of
storing or processing data in digital form, including central
processing units; desktop, laptop, notebook, and tablet
computers; personal digital assistants; wireless communication
devices, such as paging devices, mobile telephones, and smart
phones; digital cameras; gaming consoles; peripheral
input/output devices, such as keyboards, printers, scanners,
monitors, and drives; related communications devices, such as
modems, routers, cables, and connections; storage media; and
security devices.


                                       13
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 25 of 28 Page ID #:25



when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device's user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.



                                       14
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 26 of 28 Page ID #:26




            d.   Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

"booby traps" that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      15.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises or in a short period of time for

a number of reasons, including the following:

            a.   Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.



                                       15
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 27 of 28 Page ID #:27




      A.    Night Service

      16.   Based on my training, experience, and knowledge of

this investigation, I know that investigators need to execute

search warrants immediately or soon after a seizure.           If

investigators wait to execute a search warrant, it will very

likely compromise the investigation and could put the agents and

others at risk.     Based on my training and experience, I also

know that law enforcement agents require time to efficiently and

effectively execute search warrants on digital devices,

premises, and vehicles.      As explained above, members from LA

Impact conducted a traffic stop of the SUBJECT VEHICLE at around

4:36 p.m.    Therefore, I request night service authorization in

order to execute the search warrants, which will protect the

integrity of the investigation and better ensure the safety of

law enforcement officers.

///

///

///




                                       16
Case 2:19-mj-04818-DUTY Document 1 Filed 11/13/19 Page 28 of 28 Page ID #:28




                             VII. CONCLUSION

      17.   For all of the reasons described above, there is

probable cause that the items to be seized described in

Attachment B-1 will be found in a search of the SUBJECT DEVICES

described in Attachment A-1, and that the items to be seized

described in Attachment B-2 will be found in a search of the

SUBJECT VEHICLE described in Attachment A-2 and the SUBJECT

PREMISES described in Attachment A-3.




                                                ~~
                                         ANGELICA CHILDS, Special Agent
                                         Drug Enforcement Administration

Subscribed to and sworn before me
this 13th day of November, 2019.


            ALKA SAGAR
HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




                                       17
